      Case 3:17-cv-00564-JCH Document 86 Filed 07/25/18 Page 1 of 2




                   UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF CONNECTICUT
LATASHA WALLACE,                                §
              Plaintiff,                        §
                                                §
       v.                                       §
                                                § C. A. No.: 3:17-cv-00564-JCH
NATIONAL RECOVERY AGENCY,
                                                §
              Defendant.
                                                §
                                                §
                                                §
                                                §
                                                §

                              STIPULATION TO DISMISS

TO THE CLERK:

       Pursuant to Rule 41(a)(1)(A)(ii), counsel for all parties hereto stipulate to the

dismissal with prejudice and without cost to either party.


/s/ Ian J. Gemmell                             /s/ Angela K. Troccoli
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                                                 Attorney for Plaintiff
Date: July 25, 2018
                                                Date: July 25, 2018



                                      BY THE COURT:



                                        Judge Janet C. Hall _______
                                                                  J.
      Case 3:17-cv-00564-JCH Document 86 Filed 07/25/18 Page 2 of 2




                                  Certificate of Service

       I hereby certify that I have served a copy of the foregoing document by Notice of
Electronic Filing on this 25th day of July, 2018:

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